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                                                                               DATE FILED: 2/10/2025




                                                                   February 7, 2025
BY ECF
Hon. Mary K. Vyskocil
United States District Court
Southern District of New York
500 Pearl St., Rm. 2230
New York, NY 10007

               Re:    Lakrout v. NYS Unified Court System
                      S.D.N.Y., 24 cv 7789 (MKV)

       Dear Judge Vyskocil:

        This Office represents defendants New York State Unified Court System (“UCS”); the
Hon. Milton Adair Tingling, and Christopher DiSanto in this action. In accordance with the
Court’s Individual Rules of Practice in Civil Cases defendants respectfully request additional
time to submit the proposed motion to dismiss, granted by the Court in its February 6, 2025
Scheduling Order (ECF #32). By the Court’s Scheduling Order, the motion is due next week
February 13, 2025. Defendants respectfully request an extension of time because the
undersigned will be out of the country after today, returning February 24, 2025, and there was a
misunderstanding of the Court’s prior Order, dated January 2, 2025.

        On January 2, 2025, Defendants requested an extension of time to answer or otherwise
move to dismiss the amended complaint (ECF #28). The same day, January 2, the Court
endorsed Defendants’ request, stating, in pertinent part: “Defendants shall respond to the
amended complaint on or before February 3, 2025. Pursuant to this Court's Individual Practice
Rules, parties wishing to file a motion to dismiss, must request a pre-motion conference
with the Court prior to filing any motion.” Accordingly, this Office believed that a further
request was needed before making any such motion and that a conference would be held and or
further direction would be given to the parties on next steps, which is why no motion has been
made nor is otherwise prepared to be filed. Such request for leave, as directed by the Court’s
Scheduling Order, was timely submitted on January 31, 2025.

         Now, the Court having granted such leave also has granted only until February 13, 2025
to file such motion. Due to a previously planned leave until February 24, the undersigned is not
available to prepare and file the proposed motion. Defendants respectfully request until March
13, 2025 to file the proposed motion. Plaintiff does not consent to the request.


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       Thank you for your attention to this matter.

                                                            Respectfully submitted,

                                                                   /S/
                                                            Michael J. Siudzinski
                                                            Assistant Deputy Counsel


cc:    Bizer & Dereus, counsel for plaintiff, via ECF




 The Court has reviewed both Plaintiff's and Defendants' submissions related to this request for an
 extension. Defendants' request for an extension to file their motion to dismiss by March 13, 2025 is
 HEREBY GRANTED. Further briefing shall be submitted on the schedule set forth in Local Rule
 6.1(b).
 SO ORDERED.
                                          2/10/2025




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